      Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 1 of 21




                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


FARHAD AZIMA,
ALG TRANSPORTATION, INC.,
MAIN 3260 LLC,
FFV W39 LLC, and
FFV DEVELOPMENT LLC,                          Case No. 1:22-cv-08728 (PGG) (JW)
                     Plaintiffs,
v.
                                            ORAL ARGUMENT REQUESTED
DECHERT LLP,
DAVID NEIL GERRARD,
DAVID GRAHAM HUGHES,
NICHOLAS DEL ROSSO,
VITAL MANAGEMENT SERVICES, INC.,
AMIT FORLIT,
INSIGHT ANALYSIS AND RESEARCH LLC,
SDC-GADOT LLC,
AMIR HANDJANI,
ANDREW FRANK, and
KARV COMMUNICATIONS,

                     Defendants.




                MEMORANDUM OF LAW IN SUPPORT OF
         DEFENDANT DAVID NEIL GERRARD’S MOTIONS TO DISMISS




                                        Andrew St. Laurent
                                        Evan W. Bolla
                                        HARRIS ST. LAURENT & WECHSLER LLP
                                        40 Wall Street, 53rd Floor
                                        New York, NY 10005
                                        Tel: (212) 397-3370
                                        andrew@hs-law.com
                                        ewbolla@hs-law.com

                                        Counsel for Defendant David Neil Gerrard
               Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 2 of 21




                                                       TABLE OF CONTENTS

I.       Azima’s Claims Should be Dismissed in Favor of Litigation in the U.K. Based on the
           Settlement Agreement’s Forum Selection Clause .............................................................. 1

      A. The Claims in the Complaint are Covered by the Forum Selection Clause ......................... 2

      B. Gerrard Can Enforce the Forum Selection Clause ................................................................ 3

      C. Azima Is Bound by the Previous Decision of Another Federal Court that the Forum
         Selection Clause in the Settlement Agreement Covers Claims Related to the Alleged
         Hacking ................................................................................................................................. 5

II.      Plaintiffs Have Not Demonstrated Personal Jurisdiction Over Gerrard ................................. 6

      A. Standard Under Rule 12(b)(2) .............................................................................................. 6

      B. Only New York Statutes Can Provide Jurisdiction for Plaintiffs over Gerrard .................... 7

      C. The Complaint Does Not Establish Jurisdiction Over Gerrard ............................................ 7

         i.       The Complaint Does Not Sufficiently Plead General Jurisdiction Over Gerrard ........... 8

         ii.      The Complaint Does Not Sufficiently Plead Specific Jurisdiction Over Gerrard .......... 8

               a. The Complaint Does Not Allege That Gerrard Transacted Business in New York That
                  Would Give Rise to Specific Jurisdiction ..................................................................... 9

               b. The Complaint Does Not Allege Gerrard Committed a Tortious Act In New York .. 11

               c. Plaintiffs Have Not Alleged Conspiracy Jurisdiction ................................................. 11

III. The Complaint Does Not Allege the Requisite Facts to Support the Alleged RICO Predicate
       Acts By Gerrard ................................................................................................................ 12

      A. The Complaint Does Not Sufficiently Allege Claims for Money Laundering or Mail or
         Wire Fraud Against Gerrard ............................................................................................... 13

      B. Obstruction of Justice as Alleged Here is Not a Predicate Act........................................... 14

IV. Conclusion ............................................................................................................................ 15




                                                                          i
           Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 3 of 21




                                               TABLE OF AUTHORITIES

Cases
260 Madison Ave. HVAC Unit Collapse
  2018 N.Y. Slip Op. 32413(U) (N.Y. Sup. Ct. Sep. 26, 2018) .................................................... 8

Aguas Lenders Recovery Grp. v. Suez, S.A.
  585 F.3d 696 (2d Cir. 2009)........................................................................................................ 3

Allied Dynamics Corp. v. Kennametal, Inc.
  965 F. Supp. 2d 276 (E.D.N.Y. 2013) ........................................................................................ 9

Azima v. RAK Investment Authority
  926 F.3d 870 (D.C. Cir. 2019) ................................................................................................ 3, 5

Beacon Enters. v. Menzies
  715 F.2d 757 (2d Cir. 1983)...................................................................................................... 10

Best Van Lines, Inc. v. Walker
  490 F.3d 239 (2d Cir. 2007)...................................................................................................... 10

Bristol-Myers Squibb Co. v. Superior Ct. of California, San Francisco Cnty.
  137 S. Ct. 1773 (2017) .............................................................................................................. 11

Cambridge Management Group, LLC v. Baker
  No. 12 Civ. 3577 (NLH), 2013 WL 1314734 (D.N.J. Mar. 28, 2013) ....................................... 4

Chloe v. Queen Bee of Beverly Hills, LLC
  616 F.3d 158 (2d Cir. 2010)........................................................................................................ 9

CrossBorder Sols., Inc. v. Macias, Gini, & O'Connell, LLP
  No. 20 CIV. 4877 (NSR), 2022 WL 562934 (S.D.N.Y. Feb. 23, 2022)..................................... 9

Curtis & Assocs., P.C. v. L. Offs. of David M. Bushman, Esq.
  758 F. Supp. 2d 153 (E.D.N.Y. 2010) ...................................................................................... 14

CutCo Industries, Inc. v. Naughton
  806 F.2d 361 (2d Cir. 1986)........................................................................................................ 9

Daimler AG v. Bauman
  571 U.S. 117 (2014) .................................................................................................................... 8

DeFalco v. Bernas
  244 F.3d 286 (2d Cir 2001)....................................................................................................... 12




                                                                     ii
           Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 4 of 21




Democratic Natl. Comm. v. Russian Fedn.
  392 F Supp 3d 410 (S.D.N.Y. 2019)......................................................................................... 14

Elsevier, Inc. v. Grossman
  77 F. Supp. 3d 331 (S.D.N.Y. 2015)........................................................................................... 7

First Capital Asset Mgt., Inc. v. Brickellbush, Inc.
  218 F Supp 2d 369, 391 (S.D.N.Y. 2002)................................................................. 7, 10, 11, 12

Griffin v. Sirva, Inc.
  291 F. Supp. 3d 245 (E.D.N.Y. 2018) ........................................................................................ 6

Grove Press, Inc. v. Angleton
  649 F.2d 121 (2d Cir. 1981)...................................................................................................... 12

Gucci Am., Inc. v. Weixing Li
  768 F.3d 122 (2d Cir. 2014)........................................................................................................ 8

Hollander v. Pressreader, Inc.
  2020 WL 2836189 (S.D.N.Y. 2020) ......................................................................................... 14

In re Optimal U.S. Litig.
   813 F.Supp.2d 351 (S.D.N.Y. 2011)........................................................................................... 3

Jazini v. Nissan Motor Co., Ltd.
  148 F.3d 181 (2d Cir. 1998).................................................................................................... 6, 7

JCorps Int'l, Inc. v. Charles & Lynn Schusterman Family Found.
  828 F. App'x 740 (2d Cir. 2020) ................................................................................................. 6

Johnson v. Ward
  797 N.Y.S.2d 33 (2005) ............................................................................................................ 10

Kernan v. Kurz-Hastings, Inc.
  175 F.3d 236 (2d Cir. 1999)........................................................................................................ 9

Kreutter v. McFadden Oil Corp.
  71 N.Y.2d 460 (1988) ............................................................................................................... 12

Lawyers Funding Group, LLC v. White
  No. 14 Civ. 2962 (BS), 2015 WL 921588 (E.D. Pa. Mar. 4, 2015) ........................................... 4

Magi XXI, Inc. v. Stato della Citta del Vaticano
 714 F.3d 714 (2d Cir. 2013)........................................................................................................ 3




                                                                   iii
           Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 5 of 21




McGowan v. Smith
 52 N.Y.2d 268 (1981) ................................................................................................................. 9

Mills v. Polar Molecular Corp.
  12 F3d 1170 (2d Cir 1993)........................................................................................................ 13

Parklane Hosiery Co. v. Shore
  439 U.S. 322 (1979) .................................................................................................................... 6

Penguin Grp. (USA) Inc. v. Am. Buddha
  609 F.3d 30 (2d Cir. 2010).......................................................................................................... 6

Phillips v. Audio Active Ltd.
  494 F.3d 378 (2d Cir. 2007)........................................................................................................ 2

Poindexter v. Cash Money Records
  No. 13 Civ. 1155, 2014 WL 818955 (S.D.N.Y. Feb. 25, 2014) ................................................. 6

Postlewaite v. McGraw-Hill
  333 F.3d 42 (2d Cir. 2003).......................................................................................................... 6

RAK Investment Authority v. Azima
  [2021] EWCA Civ 349 [147–48] ............................................................................................ 2, 3

Roth v. Jennings
  489 F.3d 499 (2d Cir. 2007)........................................................................................................ 1

Shaw Family Archives Ltd. v. CMG Worldwide, Inc.
  No. 05 Civ. 3939 (CM), 2008 WL 4127830 (S.D.N.Y. Sept. 2, 2008) ...................................... 6

Sole Resort, S.A. de C.V. v. Allure Resorts Mgmt., LLC
  450 F.3d 100 (2d Cir. 2006).................................................................................................. 9, 10

Sound Around Inc. v. Audiobahn, Inc.
  No. 07 CV 773 RJD CLP, 2008 WL 5093599 (E.D.N.Y. Nov. 24, 2008) ............................... 10

Troma Entm't, Inc. v. Centennial Pictures Inc.
  729 F.3d 215 (2d Cir. 2013)........................................................................................................ 6

U.S. Theatre Corp. v. Gunwyn/Lansburgh Ltd. P'ship
  825 F. Supp. 594 (S.D.N.Y. 1993)........................................................................................ 9, 10

United States v. Hawit
  15-CR-252 (PKC), 2017 WL 663542 (E.D.N.Y. Feb. 17, 2017) ............................................. 14




                                                                    iv
           Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 6 of 21




Weingard v. Telepathy, Inc.
 No. 05 CIV. 2024 (MBM), 2005 WL 2990645 (S.D.N.Y. Nov. 7, 2005).................................. 4

Wexner v. First Manhattan Co.
 902 F.2d 169 (2d Cir.1990)....................................................................................................... 13

Wilder v. News Corp.
  No. 11 CIV. 4947 (PGG), 2014 WL 1315960 (S.D.N.Y. Mar. 31, 2014) .................................. 7

Zanghi v. Ritella
  19 CIV. 5830 (NRB), 2021 WL 4392756 (S.D.N.Y. Sept. 24, 2021) ................................ 2, 3, 4

Statutes
18 U.S.C. § 1343 ........................................................................................................................... 14

18 U.S.C. § 1503 ........................................................................................................................... 15

18 U.S.C. § 1956 ........................................................................................................................... 13

18 U.S.C. § 1961 ..................................................................................................................... 13, 15

18 U.S.C. § 1962 ........................................................................................................................... 12

18 U.S.C. § 1965 ............................................................................................................................. 7

Rules
Federal Rules of Civil Procedure Rule 12 ...................................................................................... 6

N.Y.C.P.L.R. § 301 ......................................................................................................................... 8

N.Y.C.P.L.R. § 302 ......................................................................................................... 8, 9, 10, 12




                                                                       v
        Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 7 of 21




        David Neil Gerrard (“Gerrard”) fully joins Defendants’ Joint Memorandum of Law in

support of the joint motion to dismiss. In addition, Gerrard moves to dismiss the complaint based

on the forum selection clause of the March 2, 2016 settlement agreement between Azima and

Gerrard’s then-client RAKIA1 (the “Settlement Agreement”); the Plaintiffs’ failure to establish

personal jurisdiction over him; and the absence of properly plead predicate acts necessary to

support Plaintiffs’ RICO claims against him.

   I.        Azima’s Claims Should be Dismissed in Favor of Litigation in the U.K. Based on
             the Settlement Agreement’s Forum Selection Clause

        Plaintiff Farhad Azima (“Azima”) and RAKIA entered into a 2016 settlement agreement.

According to the Complaint, this was at Gerrard’s direction and in furtherance of the Enterprise’s

scheme to cause injury to Plaintiffs. Compl. ¶¶ 62-64. The Settlement Agreement contains a clause

that controls the forum and choice of law for any dispute relating to the agreement, its formation,

or the subject matter:

                This Settlement Agreement and any dispute or claim arising out of,
                or in connection with, it or its subject matter or formation (including,
                without limitation, any contractual or non-contractual disputes,
                claims or obligations) is governed by and shall be construed in
                accordance with English law and the Parties submit to the exclusive
                jurisdiction of the courts of England and Wales.2

A copy of the Settlement Agreement is attached as Exhibit 1 to the Declaration of David Gopstein

(“Ex. 1”).




        1All capitalized terms adopt the same definition as in the defendants’ joint memorandum
unless otherwise stated. For the purposes of this motion only, all the well-pleaded allegations in
the Complaint are taken as true.
        2“Documents that are incorporated in [a complaint] by reference are deemed part of the
pleading and may be considered [by the court in ruling on a motion to dismiss].” Roth v. Jennings,
489 F.3d 499, 509 (2d Cir. 2007).


                                                   1
        Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 8 of 21




       A. The Claims in the Complaint are Covered by the Forum Selection Clause

       A forum selection clause is presumptively enforceable when: “(1) the clause was

reasonably communicated to the party resisting its enforcement; (2) the clause is mandatory ...;

and (3) the claims and parties to the dispute are subject to the clause.” 3 Phillips v. Audio Active

Ltd., 494 F.3d 378, 383-84, 392 (2d Cir. 2007) (citations omitted); see also Zanghi v. Ritella, 19

CIV. 5830 (NRB), 2021 WL 4392756, at *4 (S.D.N.Y. Sept. 24, 2021), appeal dismissed sub nom.

Zanghi v. Callegari, 22-266, 2023 WL 1097560 (2d Cir Jan. 30, 2022).

       The Complaint alleges that the hacking, the enforcement of the Settlement Agreement, and

the cover-up of the hacking were part of one scheme to use the Settlement Agreement as a “trap”

to harm Azima. Compl. ¶¶ 62-64. The Enterprise (as defined in ¶¶ 1-25 of the Complaint) hacked

Azima in 2015 and discovered documents that demonstrated Azima had engaged in bad faith and

fraud in relation to his interactions with RAKIA. See Compl. ¶¶ 45-58 and RAK Investment

Authority v. Azima [2021] EWCA Civ 349 [147–48]. The Enterprise induced Azima to enter into

the Settlement Agreement with RAKIA under which RAKIA would pay Azima $2.6 million and

Azima would make certain representations concerning his prior conduct that the Enterprise (and

presumably Azima) knew were false. See Compl. ¶ 62, 64. Azima denied his prior bad faith

conduct and made the false representations, thereby “falling into the trap”. Id. at ¶ 63; Ex. 1. The

Enterprise laundered the hacked materials through public sources and RAKIA initiated successful

litigation concerning Azima’s bad faith and false representations in the Settlement Agreement



       3 A party may defeat the presumption of enforcement by making a sufficiently strong
showing that: “(1) [the forum selection clause’s] incorporation was the result of fraud or
overreaching; (2) the law to be applied in the selected forum is fundamentally unfair; (3)
enforcement contravenes a strong public policy of the forum state; or (4) trial in the selected forum
will be so difficult and inconvenient that the plaintiff effectively will be deprived of his day in
court.” Phillips v. Audio Active Ltd., 494 F.3d 378, 383-84, 392 (2d Cir. 2007) (citations omitted).
We will address any attempts by Plaintiffs to carry this burden in reply.


                                                 2
        Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 9 of 21




based on the hacked materials. Id. at ¶¶ 65-72. During the ensuing litigation, the Enterprise covered

up the hacking. Id. at ¶¶ 73-75; 83-183.4 Accordingly, the Complaint has a “logical or causal

connection” to not only the subject matter and formation of the Settlement Agreement but to the

Settlement Agreement itself. Azima v. RAK Investment Authority, 926 F.3d 870, 877 (D.C. Cir.

2019). The forum selection clause accordingly should control the forum in which this litigation

should occur.

       B. Gerrard Can Enforce the Forum Selection Clause

       Although not a signatory to the Settlement Agreement, Gerrard is nonetheless bound by

the forum selection clause and accordingly has the ability to enforce its terms against Azima. The

“fact [that] a party is a non-signatory to an agreement is insufficient, standing alone, to preclude

enforcement of a forum selection clause.” Aguas Lenders Recovery Grp. v. Suez, S.A., 585 F.3d

696, 701 (2d Cir. 2009). As relevant here, a forum selection clause may be enforced by a non-

signatory to a contract when the non-signatory is sufficiently “closely related” to a contracting

party or the dispute arising from the transaction that it is foreseeable that it will be bound by the

forum selection clause. See Magi XXI, Inc. v. Stato della Citta del Vaticano, 714 F.3d 714, 723

(2d Cir. 2013); In re Optimal U.S. Litig., 813 F.Supp.2d 351, 369 (S.D.N.Y. 2011).

       Courts in this Circuit have generally found that a sufficiently close relationship arises in

two situations: (1) “where the non-signatory had an active role in the company that was the

signatory,” or (2) “where the non-signatory had an active role in the transaction between the

signatories.” Zanghi v. Ritella, 19 CIV. 5830 (NRB), 2021 WL 4392756, at *5 (S.D.N.Y. Sept.

24, 2021) (citation omitted). Thus, even if a non-signatory is not formally affiliated with a


       The U.K. Court of Appeal found “the hacked materials ought to have been disclosed by
       4

Mr. Azima anyway.” RAK Investment Authority v. Azima [2021] EWCA Civ 349 [147–48] at ¶
62.


                                                 3
       Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 10 of 21




contracting party, there may be a sufficiently “close relationship” to allow the non-signatory to

rely on a forum selection clause where it is alleged the non-signatory “acted in concert” with a

signatory in connection with the transaction. Id.

        In Zanghi v. Ritella, the Court found that an attorney and firm who were not signatories to

the underlying agreement were subject to the forum selection clause where, as here, the attorney

was alleged to be closely related to his client, participated in not only the drafting of the papers but

the surrounding transactions, and where it was alleged that the attorney stood to gain from the

underlying agreement. 2021 WL 4392756, at *5. Courts outside this Circuit have also relied on

the “closely related” theory to find that forum selection clauses bind non-signatory attorneys

representing claimants in agreements. See, e.g., Cambridge Management Group, LLC v. Baker,

No. 12 Civ. 3577 (NLH), 2013 WL 1314734, at *11 (D.N.J. Mar. 28, 2013); Lawyers Funding

Group, LLC v. White, No. 14 Civ. 2962 (BS), 2015 WL 921588, at *6 (E.D. Pa. Mar. 4, 2015); see

also Weingard v. Telepathy, Inc., No. 05 CIV. 2024 (MBM), 2005 WL 2990645, at *6 (S.D.N.Y.

Nov. 7, 2005) (allegations that defendants were acting in concert satisfied “closely related”

element).

        Here, both the pleadings and the Settlement Agreement demonstrate a close and direct

relationship between Gerrard, RAKIA, and Azima. The Complaint describes Dechert and

Gerrard’s role and connection with the Settlement Agreement and the forum selection clause in

particular: “the Enterprise, acting through Dechert, induced Azima to enter into [the Settlement

Agreement]”, Compl. ¶ 62, and included the forum selection clause for the specific purpose of

allowing Gerrard to file and manage any subsequent litigation in the UK. Id. The Settlement

Agreement’s front page shows Dechert U.K. Office’s involvement in the creation of the Settlement

Agreement (and Gerrard’s position at Dechert and representation of RAKIA is established in the




                                                    4
       Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 11 of 21




pleadings). See Ex. 1. In addition, the confidentiality obligations contained in the Settlement

Agreement extend not only to the Parties but to “their advisers,” including Gerrard. See Ex. 1, §

5.1. A close and direct relationship is both alleged in the Complaint and supported by the

underlying agreement. The forum selection clause should be enforced and Azima required to bring

these claims in the courts of England and Wales.5

        C. Azima Is Bound by the Previous Decision of Another Federal Court that the Forum
           Selection Clause in the Settlement Agreement Covers Claims Related to the Alleged
           Hacking

        The Court of Appeals for the D.C. Circuit (the “D.C. Appeals Court”) previously examined

the forum selection clause in connection with Azima’s suit against RAKIA for the hacking

underlying this action (the “D.C. Proceeding”). Compl. ¶ 72; Azima v. RAK Investment Authority,

926 F.3d 870, 874-880 (D.C. Cir. 2019). In that matter, the D.C. Appeals Court held that the forum

selection clause was mandatory, was broad in application, and that the alleged hacking of Azima’s

information was covered by it. Id. at 877. The D.C. Appeals Court found that the prepositional

clause “arising out of, or in connection with” in the forum selection clause was “quite broad”. Id.

Under this broad reading, the D.C. Appeals Court found that because the hacking was alleged to

have a “logical or causal connection” to the other business disputes between the parties, it was

related to the formation of the Settlement Agreement and thus covered by the forum selection

clause. Id.

        “Under either federal law or New York State law, collateral estoppel, or issue preclusion,

bars the relitigation of an issue that was raised, litigated, and actually decided by a judgment in a

prior proceeding, regardless of whether the two suits are based on the same cause of action.” Shaw




        5As he has, in fact, already done. See Joint Brief pp. 14-18 (arguing for dismissal of instant
in action in favor of UK proceedings already in process considering the same claims).


                                                  5
         Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 12 of 21




Family Archives Ltd. v. CMG Worldwide, Inc., No. 05 Civ. 3939 (CM), 2008 WL 4127830, at *18

(S.D.N.Y. Sept. 2, 2008), quoting Postlewaite v. McGraw-Hill, 333 F.3d 42, 48 (2d Cir. 2003). As

Azima was an active litigant in the proceeding, and the D.C. Appeals Court made a full and final

determination concerning the scope of the forum selection clause, the D.C. Appeals Court’s

interpretation is binding on Azima. See Poindexter v. Cash Money Records, No. 13 Civ. 1155,

2014 WL 818955, at *2 (S.D.N.Y. Feb. 25, 2014). Moreover, although Gerrard was not a party to

that proceeding, as a defendant, there is no bar to him raising a non-mutual decision in his favor.

“Defensive use of collateral estoppel precludes a plaintiff from relitigating identical issues by

merely ‘switching adversaries.’” Parklane Hosiery Co. v. Shore, 439 U.S. 322, 329 (1979) (noting

that defensive issue preclusion did not raise fairness concerns of non-mutual offensive issue

preclusion); see also Griffin v. Sirva, Inc., 291 F. Supp. 3d 245, 253 (E.D.N.Y. 2018).

   II.      Plaintiffs Have Not Demonstrated Personal Jurisdiction Over Gerrard

         A. Standard Under Rule 12(b)(2)

         On a motion to dismiss for lack of personal jurisdiction pursuant to Rule 12(b)(2) of the

Federal Rules of Civil Procedure, “[a] plaintiff bears the burden of demonstrating personal

jurisdiction over a person or entity against whom it seeks to bring suit[,]” Troma Entm't, Inc. v.

Centennial Pictures Inc., 729 F.3d 215, 217 (2d Cir. 2013) (citing Penguin Grp. (USA) Inc. v. Am.

Buddha, 609 F.3d 30, 34 (2d Cir. 2010)), although “the plaintiff need only make a prima facie

showing that the court possesses personal jurisdiction over the defendant.” JCorps Int'l, Inc. v.

Charles & Lynn Schusterman Family Found., 828 F. App'x 740, 742 (2d Cir. 2020).

         A prima facie case requires non-conclusory fact-specific allegations or evidence showing

that activity that constitutes the basis of jurisdiction has taken place. See Jazini v. Nissan Motor

Co., Ltd., 148 F.3d 181, 185 (2d Cir. 1998). Where plaintiffs do not establish a prima facie case




                                                 6
        Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 13 of 21




that the district court has jurisdiction over the defendant, the district court may appropriately

dismiss the complaint without further proceedings. Id. at 185; Wilder v. News Corp., No. 11 CIV.

4947 (PGG), 2014 WL 1315960, at *6–*7 (S.D.N.Y. Mar. 31, 2014).

        B. Only New York Statutes Can Provide Jurisdiction for Plaintiffs over Gerrard

        The sole jurisdictional statute invoked by plaintiffs with respect to Gerrard is the

nationwide service provision of the RICO statute, 18 U.S.C. § 1965(b). But § 1965(b) “does not

provide for international service of process.” First Capital Asset Mgmt., Inc. v. Brickellbush, Inc.,

218 F. Supp. 2d 369, 392 (S.D.N.Y. 2002). To establish personal jurisdiction under § 1965(b), a

defendant “must be served with process within the United States.” Elsevier, Inc. v. Grossman, 77

F. Supp. 3d 331, 343 n. 7 (S.D.N.Y. 2015) (internal quotation marks omitted).

        Gerrard was purported to be served in England;6 thus, § 1965(b) is inapplicable. In the

event of service outside the United States “plaintiffs asserting RICO claims against foreign

defendants must rely on the long-arm statute of the state in which they filed suit.” Elsevier, Inc.,

77 F. Supp. 3d at 343 (internal quotation marks omitted). As described in more detail below, the

allegations in the Complaint provide neither general nor specific jurisdiction over Gerrard in New

York.

        C. The Complaint Does Not Establish Jurisdiction Over Gerrard

        The Complaint alleges that Gerrard transacted business “[t]hrough his regular business

activities in New York while a partner at Dechert.” Compl. ¶ 35. The Complaint states that

“Gerrard and others carried on the affairs of the Enterprise out of Dechert’s New York office,” (id.

at ¶ 15), and more specifically, that he met with others in New York to cause the filing of false




        6Gerrard does not concede that service as described in the submitted affidavit (Dkt: 89) is
proper, but Gerrard has agreed to waive any defense based on service.


                                                 7
        Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 14 of 21




statements (Id. at ¶ 35). Significantly, none of the meetings alleged to have taken place in New

York are pled with any specificity as to what occurred or how they give rise to the colorable claims

and none of the litigation filings Gerrard is alleged to have been involved in were made in New

York.

        i. The Complaint Does Not Sufficiently Plead General Jurisdiction Over Gerrard

        General jurisdiction is available pursuant to N.Y.C.P.L.R. § 301, which provides that “[a]

court may exercise such jurisdiction over persons, property, or status as might have been exercised

heretofore.” This requires, at a minimum, “proof of solicitation together with activities that are of

sufficient permanence and continuity to establish the defendant’s presence in New York.” 260

Madison Ave. HVAC Unit Collapse, 2018 N.Y. Slip Op. 32413(U) (N.Y. Sup. Ct. Sep. 26, 2018).

Further, to comport with due process, the defendant’s contacts with New York must be “so

‘continuous and systematic,’ judged against [its] national and global activities, that it is ‘essentially

at home’ in th[e] state.” Gucci Am., Inc. v. Weixing Li, 768 F.3d 122, 135 (2d Cir. 2014) (quoting

Daimler AG v. Bauman, 571 U.S. 117, 139 (2014)).

        Plaintiffs allege neither permanence nor continuity of activity to establish general

jurisdiction over Gerrard in New York. Even under the most generous reading of the Complaint,

Gerrard was based out of London and the UK and his presence in New York was both temporary

and transitory.

        ii. The Complaint Does Not Sufficiently Plead Specific Jurisdiction Over Gerrard

        Specific personal jurisdiction in New York is available over an out-of-state defendant who:

(1) “transacts any business within the state”; (2) “commits a tortious act within the state”; or (3)

“commits a tortious act without the state causing injury…. within the state…”. N.Y.C.P.L.R. §

302(a)-(a)(3)(ii). In determining whether the exercise of specific personal jurisdiction comports




                                                   8
       Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 15 of 21




with due process, courts consider: “(1) the minimum contacts inquiry, and (2) the reasonableness

inquiry.” Allied Dynamics Corp. v. Kennametal, Inc., 965 F. Supp. 2d 276, 296 (E.D.N.Y. 2013).

The minimum contacts inquiry examines whether the defendant’s conduct was “purposefully

directed” toward the forum state. Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 171

(2d Cir. 2010). The reasonableness inquiry requires that “the assertion of jurisdiction comports

with traditional notions of fair play and substantial justice—that is, whether it is reasonable under

the circumstances of [this] case.” Kernan v. Kurz-Hastings, Inc., 175 F.3d 236, 244 (2d Cir. 1999)

(internal quotations omitted); see also CrossBorder Sols., Inc. v. Macias, Gini, & O'Connell, LLP,

No. 20 CIV. 4877 (NSR), 2022 WL 562934, at *6 (S.D.N.Y. Feb. 23, 2022).

           a. The Complaint Does Not Allege That Gerrard Transacted Business in New York
              That Would Give Rise to Specific Jurisdiction

       As noted above, the sparse allegations in the Complaint allege that Gerrard met with other

members of the purported RICO enterprise on unspecified dates between 2014 and 2020 at

Dechert’s New York offices to further the purposes of that enterprise. These allegations are not

sufficient to establish personal jurisdiction over Gerrard. N.Y.C.P.L.R. § 302(a)(1) requires that

“(1) [t]he defendant must have transacted business within the state; and (2) the claim asserted must

arise from that business activity.” Sole Resort, S.A. de C.V. v. Allure Resorts Mgmt. LLC, 450 F.3d

100, 103 (2d Cir. 2006) (citing McGowan v. Smith, 52 N.Y.2d 268, 273 (1981)). “A nondomiciliary

transacts business under CPLR § 302(a)(1) when he purposefully avails himself of the privilege

of conducting activities within New York, thus invoking the benefits and protections of its laws.”

CutCo Industries, Inc. v. Naughton, 806 F.2d 361, 365 (2d Cir. 1986) (internal quotations and

citations omitted). Transacting business “has been interpreted to require a certain quality, rather

than a specific quantity, of contacts with the forum.” U.S. Theatre Corp. v. Gunwyn/Lansburgh

Ltd. P'ship, 825 F. Supp. 594, 595 (S.D.N.Y. 1993). “Whether or not the contacts are of the



                                                 9
       Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 16 of 21




appropriate nature must be determined by an analysis of the totality of the circumstances.” Id. To

satisfy the second prong, plaintiffs must also show that “there is an articulable nexus, or a

substantial relationship, between the claim asserted and the actions that occurred in New York.”

Best Van Lines, Inc. v. Walker, 490 F.3d 239, 246 (2d Cir. 2007) (citation omitted). Where “the

relationship between the claim and transaction is too attenuated” or “merely coincidental,” no

jurisdiction lies. Johnson v. Ward, 797 N.Y.S.2d 33, 35 (2005). “Courts have required ‘a direct

relation between the cause of action and the in-state conduct’ as ‘an important condition of

acquiring jurisdiction over the non-domiciliary defendant.’” Sound Around Inc. v. Audiobahn, Inc.,

No. 07 CV 773 RJD CLP, 2008 WL 5093599, at *4 (E.D.N.Y. Nov. 24, 2008) (quoting Beacon

Enters. v. Menzies, 715 F.2d 757, 764 (2d Cir. 1983)); see also Sole Resort, S.A. de C.V. v. Allure

Resorts Mgmt., LLC, 450 F.3d 100, 104 (2d Cir. 2006) (citing cases).

       Here, the alleged conduct by Gerrard relates to litigation in D.C., the U.K., and North

Carolina, with no mention of Gerrard having any involvement with the New York litigation,

(Compl. ¶¶ 129-132). Accordingly, given the limited contact between Gerrard and New York and

the remoteness of those contacts to the events alleged to have caused injury to the plaintiffs,

jurisdiction is lacking in New York under N.Y.C.P.L.R. § 302(a)(1). See First Capital Asset Mgt.,

Inc. v. Brickellbush, Inc., 218 F Supp 2d 369, 391, 398 (S.D.N.Y. 2002) (as the N.Y. activity

occurred prior to the alleged RICO claims, the claim did not arise from NY conduct and the

allegation that “[Defendant] traveled to New York in early May 1997 and met with his nephew,

[], in connection with the transactions involved in [his nephew’s] bankruptcy and the instant

lawsuit” was vague and conclusory and lacked the factual specificity necessary to contribute to

plaintiffs’ prima facie showing of jurisdiction). In addition, because the conduct giving rise to the

injuries alleged by plaintiffs took place elsewhere (even if plaintiffs allege some preliminary




                                                 10
       Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 17 of 21




actions took place in New York) and none of the conduct alleged to have been committed by

Gerrard was directed at New York, the exercise of personal jurisdiction over Gerrard by a New

York court would be inconsistent with the requirements of Due Process. See Bristol-Myers Squibb

Co. v. Superior Ct. of California, San Francisco Cnty., 137 S. Ct. 1773, 1782 (2017).

           b. The Complaint Does Not Allege Gerrard Committed a Tortious Act In New York

        The Complaint fails to establish that Gerrard committed any “tort” in New York related to

the actual claim the Plaintiffs allege this matter is about – “the cover-up.” Compl. ¶ 5, fn. 2. The

only alleged facts related to New York are contained in Section II of the Complaint, which pertains

to the hacking conspiracy being litigated in the U.K., not the cover-up which is discussed starting

at Paragraph 73. Those allegations do not describe tortious activity but, at most, discussions in

preparation thereof: “In December 2015, Frank, Gerrard, and others, including upon information

and belief Handjani, met in New York to discuss this plan” (¶ 60) and “Forlit met with Gerrard at

least a dozen times between 2015 and 2020, including at Dechert’s offices in New York” (¶ 54).

           c. Plaintiffs Have Not Alleged Conspiracy Jurisdiction

       “To establish jurisdiction over a nondomiciliary defendant on the basis of the New York

acts of a co-conspirator, the plaintiff must (1) establish a prima facie case of conspiracy, (2) allege

specific facts warranting the inference that the defendant was a member of the conspiracy, (3)

demonstrate the commission of a tortious act in New York, and (4) demonstrate the requisite

agency relationship between the nondomiciliary defendant and the in-state tortfeasor.” First

Capital Asset Mgt., Inc. v. Brickellbush, Inc., 218 F Supp 2d 369, 394 (S.D.N.Y. 2002) (additional

procedural history omitted)

       In Kreutter v. McFadden Oil Corp., the New York Court of Appeals expounded upon the

agency requirement, explaining that while a plaintiff need not establish a “formal agency




                                                  11
           Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 18 of 21




relationship” to establish jurisdiction, a plaintiff must “convince the court that [the in-state

defendant] engaged in purposeful activities in this State in relation to his transaction for the benefit

of and with the knowledge and consent of the [out-of-state defendants] and that they exercised

some control over [the in-state defendant] in the matter.” 71 N.Y.2d 460, 467 (1988) (emphasis

added); see also Grove Press, Inc. v. Angleton, 649 F.2d 121, 122 (2d Cir. 1981) (“[B]efore an

agency relationship will be held to exist under section 302(a)(2), a showing must be made that the

alleged agent acted in New York for the benefit of, with the knowledge and consent of, and under

some control by, the nonresident principal.” (emphasis added)).

           Here, there are no allegations that any of the co-conspirators acted in New York for the

benefit of Gerrard, with his knowledge and consent, or under his control. What is alleged is that

they acted in concert, either for the benefit of RAKIA, the client in litigation, or for their own self-

interest in avoiding detection. See e.g. Compl. ¶¶ 129-132 (under section heading “Handjani

Obstructs Azima’s Section 1782 Proceeding in New York”).7 See First Capital Asset Mgt., Inc. v.

Brickellbush, Inc., 218 F Supp 2d at 398-99. In addition, and in the alternative, for the reasons

described above, exercising personal jurisdiction over Gerrard on the basis of these allegations

would violate his rights under the Due Process Clause.

    III.         The Complaint Does Not Allege the Requisite Facts to Support the Alleged RICO
                 Predicate Acts By Gerrard

           To establish a violation of 18 U.S.C. § 1962(c), a plaintiff must establish that each

defendant, through the commission of two or more predicate acts constituting a pattern of

racketeering activity, directly or indirectly participated in an enterprise, the activities of which

affected interstate or foreign commerce. DeFalco v. Bernas, 244 F.3d 286, 306 (2d Cir 2001).




           7   Plaintiffs do not claim any injury in New York under 302(a)(3).


                                                     12
       Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 19 of 21




        Here, Plaintiffs have failed to plead two predicate acts by Gerrard. Plaintiffs have failed

to plead RICO claims based on mail and wire fraud with particularity, see Wexner v. First

Manhattan Co., 902 F.2d 169, 172 (2d Cir.1990), Gerrard’s alleged conduct consists of litigation

or cover-up activities both of which are excluded as predicate acts (See Joint Memo, pp. 28-31);

and the Plaintiffs have alleged a significant amount of foreign conduct without tying the allegations

to specific racketeering activities in 18 U.S.C. § 1961(1) which have extraterritorial application.

       A. The Complaint Does Not Sufficiently Allege Claims for Money Laundering or Mail or
          Wire Fraud Against Gerrard

       The Complaint repeatedly states that specific instances of money laundering are included

in Exhibit A. See e.g. Compl. ¶ 238. However, a review of that document shows that not one

transfer is alleged to have been sent or received by Gerrard. Further, there are no allegations that

Gerrard directed any of those payments to be made. Further, nowhere in the Complaint have the

Plaintiffs alleged the elements of “money laundering” as a racketeering activity (as defined in 18

U.S.C. § 1961(1) and 18 U.S.C. § 1956), in that there is no allegation that any of the Defendants

were involved in the transfer of “proceeds” of “specified unlawful activity” as defined in 18 U.S.C.

§ 1956(c)(7).

       While Gerrard is included in Exhibit B which purports to provide examples of mail or wire

fraud, the allegations are generic and accordingly insufficiently particular. Mills v. Polar

Molecular Corp., 12 F3d 1170, 1176 (2d Cir 1993) (“Like allegations of securities fraud,

allegations of predicate mail and wire fraud acts should state the contents of the communications,

who was involved, where and when they took place, and explain why they were fraudulent.”). The

vast majority of the alleged examples simply allege “Co-conspirator Page called Defendant

Gerrard to discuss the scheme to defraud Azima” without providing any particulars of what was

allegedly said. Indeed, all but three of the examples are concededly not substantive acts of mail or



                                                 13
       Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 20 of 21




wire fraud, with the Plaintiffs describing them as “Communications between coconspirators in

furtherance of scheme to defraud Azima.” There is no allegation of an intent to deceive, a

deception, a victim, or an injury in these communications. The remaining examples of “wire fraud”

on Exhibit B (see e.g. #85, 115, and 118) involve litigation communications which, as separately

briefed, are excluded as predicate acts. See Joint Memo pp. 28-30.

        In addition, Plaintiffs’ claims of wire fraud under 18 U.S.C. § 1343 fail because Plaintiffs

fail to identify the location of the relevant acts and the statute does not apply extraterritorially, see

United States v. Hawit, 15-CR-252 (PKC), 2017 WL 663542, at *4 (E.D.N.Y. Feb. 17, 2017);

and,because Plaintiffs have failed to adequately allege that the objective of the alleged mail or wire

fraud was the acquisition of money or property, see Hollander v. Pressreader, Inc., 2020 WL

2836189, at *4 (S.D.N.Y. 2020).

        B. Obstruction of Justice as Alleged Here is Not a Predicate Act

        As detailed at length in the Defendants’ Joint Memorandum, in “a long line of cases,”

courts have found “as a matter of law, that the ‘litigation activities’ … cannot constitute predicate

acts for the purposes of RICO.” Curtis & Assocs., P.C. v. L. Offs. of David M. Bushman, Esq., 758

F. Supp. 2d 153, 174 (E.D.N.Y. 2010), aff’d sub nom. Curtis v. L. Offs. of David M. Bushman,

Esq., 443 F. App’x 582 (2d Cir. 2011). Rather, claims of litigation misconduct should be

“direct[ed] . . . to the [] courts where these acts are allegedly occurring and where the underlying

litigation is still pending,” Id. at 173–74. Furthermore, “acts of concealment done after the[ ]

central objectives [of the conspiracy] have been attained, for the purpose of covering up after the

crime,” are not considered part of the conspiracy and cannot form the necessary predicate acts.

Democratic Natl. Comm. V. Russian Fedn., 392 F Supp 3d 410, 444 (S.D.N.Y. 2019) (“Here, the




                                                   14
          Case 1:22-cv-08728-PGG Document 143 Filed 06/20/23 Page 21 of 21




alleged acts of concealment were all done allegedly to cover the defendants’ tracks after the goal

of the alleged conspiracy had been attained.”)

          In addition, Plaintiffs’ allegations concerning the Defendants conspiring to provide false

testimony before the High Court in the UK, which the Plaintiffs allege amounts to “obstruction of

justice” involves the impermissible extraterritorial application of the obstruction of justice statutes.

Compl. ¶¶ 103-110. Alleged false testimony before a Court in the U.K. cannot, as a matter of law,

constitute a predicate racketeering activity as it does not fall within the definition of such activity

per 18 U.S.C. § 1961(1) and 18 U.S.C. § 1503.

          In the end, once the litigation activity, extraterritorial, and insufficiently plead predicate

acts are removed there are no predicate acts left to support a claim against Gerrard.

    IV.      Conclusion

          For the reasons set forth in the Defendants Joint Memorandum and the additional reasons

set forth here, the Complaint against Gerrard should be dismissed in favor of the proceedings

plaintiffs are already prosecuting in the UK and/or dismissed for lack of personal jurisdiction and

for failure to state a claim. Finally, Gerrard joins in the arguments of the Defendants in their

individual memoranda of law to the extent that they apply to him.

DATED: February 28, 2023                         HARRIS ST. LAURENT & WECHSLER LLP
       New York, New York
                                                 By:     /s/ Andrew St. Laurent
                                                         Andrew St. Laurent
                                                         Evan W. Bolla
                                                         40 Wall Street, 53rd Floor
                                                         New York, NY 10005
                                                         Tel: (212) 397-3370
                                                         andrew@hs-law.com
                                                         ewbolla@hs-law.com

                                                         Counsel for Defendant David Neil Gerrard




                                                   15
